                        Case
Sheet I . Amended Judgment        8:15-cr-00296-PWG
                           in a Criminal Case with Supervised ReleaseDocument
                                                                      (Rev, 1012017)   59 Filed 03/09/18 Page 1 of 6Judgment Page: J                        of 6
                                                                                                                                       SRS

                                        United States District Court
                                                          District of Maryland
            UNITED       STATES         OF AMERICA                         AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                           (For OtTenses Committed on or After November I, 1987)
                                                                           Case Number:     PWG-8-15-CR-00296-00        I
                                   v.
                                                                            USM Number:          N/A
                                                                            Defendant's      Attorney:      Dwight    Crawley
              ROLANDO           ONEAL       THORPE
                                                                           Assistant U.S. Attorney:   Deborah Johnston &
                                                                           Menaka Kalaskar
                                                                           Date of Original Judgment:    December    2,2016
                                                                           (or date of last amended Judgment)

Reason for Amendment:
o   Correction of Sentence on Remand
o   Reduction of Sentence for Changed Circumstances (Fed.R.Crim.P.35(b))
o   Correction of Sentence by Sentencing Court (Fed.R.Crim.P.35(a))
o   Correction of Sentence for Clerical Mistake (Fed.R.Crim.P.36)
o   Modification of Supervision Conditions (18 U.S.C. ~ 3563(c) or 3583(e))                                           MAR - 9 2018
o   Modification of Imposed Term oflmprisonment for Extraordinary and
                                                                                                                        AT GREENBelT
    Compelling Reasons (18U.S.C. ~ 3582(c)(I))                                                                    CLERK, U.S. DISTRICT COURT
o   Modification of Imposed Term oflmprisonment for Retroactive Amendment(s)
                                                                                                                    DISTRICT OF MARYLAND

    to the Sentencing Guidelines (18 U.s.C. ~ 3582(c)(2))                                                                                          DEPUTY
o   Direct Motion to District Court Pursuant to:
     o    28 U.S.C. ~ 2255;
     o    18 U.S.c. ~ 3559(c)(7); or
     o    Modification of Restitution Order
~ Order of Court
THE DEFENDANT:
~ pleaded guilty to count(s) 2 and 4 of the Indictment.
o    pleaded nolo contendere to count(s)         , which was accepted by the court.
o    was found guilty on count(s)         after a plea of not guilty.
                                                                                                           Date                          Count
       Title & Section                                Nature of Offense                            Offense Concluded                   Number(s)
    21 U.S.c. ~ 841 (a)(I)                 Possession of Marijuana with Intent to                       11/22/2013                         2
                                              Distribute Controlled Substances
       18 U.S.C. ~ 924 (c)               Possession of a Firearm in Furtherance of a                     11/22/2013                            4
                                                  Drug Trafficking OtTense

         The defendant is adjudged guilty of the otTense(s) listed above and sentenced as provided in pages 2 through __ 6_ of this
judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as modified by United States v. Booker, 543 U.S.
220 (2005).

o    The defendant has been found not guilty on count(s)         '
~    Count(s) 1 and 3 of the Indictment are dismissed on the motion of the United States.

     IT IS FURTHER ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restit' sts, and special assessments imposed by this judgment are
fully paid.




                                                                          Paul '. Grimm                                                                     Date
                                                                          United States District Judge
\                       Case 8:15-cr-00296-PWG Document 59 Filed 03/09/18 Page 2 of 6
Sheet 2 - Amended Judgment in a Criminal Case with Supervised Release (Rev. 1012017)                                        Judgmcni Page 2 of 6
DEFENDANT: ROLANDO ONEAL THORI'E                                                                CASE NUMBER: PWG-8-15-CR-00296-00           I



                                                              IMPRISONMENT


    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of 60 months as to Count 2; 60 months as to Count 4 to run eonseeutivelv to Count 2; for .
a total term of 120 months.      This federal sentence imposed shall be served concurrently with the'
defendant's state sentences. The defendant shall receive credit for time served.

181 The court makes the following recommendations to the Bureau of Prisons:
     1. That the defendant be designated to the FCI at Fairton, New Jersey for service of his sentence.
     2. That the defendant shall participate in the RDAP Program or other drug treatment program.
     3. The defendant shall satisfactorily participate in a vocational or educational program.

181 The defendant is remanded to the custody of the United States Marshal.

o    The defendant shall surrender to the United States Marshal for this district:

     o    at          a.m.lp.m. on       _
     o    as notified by the United States Marshal.

o The defendant shall surrender, at hislher own expense, to the institution designated by the Bureau of
     Prisons at the date and time specified in a written notice to be sent to the defendant by the United States
     Marshal. If the defendant does not receive such a written notice, defendant shall surrender to the United
     States Marshal:

     o    before 2 p.m. on                _
     o
A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.c. ~3146. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.c. ~3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.c. ~3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.
                                                                       RETURN

I have executed this judgment as follows:


     Defendant delivered on                        to             at            , with a certified copy of this judgment.




                                                                          UNITED STATES MARSHAL

                                                               By:
                                                                          DEPUTY U.S. MARSHAL
                         Case 8:15-cr-00296-PWG Document 59 Filed 03/09/18 Page 3 of 6
Shcct 3 - Amended Judgment in a Criminal Case with Supervised Relea.,e (Rev. 1012017)                                 Judgmcnt Page 3 of   6
DEFENDANT: ROLANDO ONEAL THORPE                                                                CASE NUMBER: PWG-8-15-CR-00296-00       I


                                                         SUPERVISED                 RELEASE
   Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 years as to
Count 2: 5 years as to Count 4: terms to run concurrently with each other: for a total term of 5 years.

The defendant shall comply with all of the following conditions:

   The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

                                                A.      MANDATORY                       CONDITIONS
I)   You must not commit another federal, state or local crime.
2)   You must not unlawfully possess a controlled substance.
3)   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
     o    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
     abuse. (check if applicable)
4)   0 You must make restitution in accordance with 18 U.S.C. ~~ 3663 and 3663A or any other statute authorizing a sentence of
     restitution. (check if applicable)
5)   0 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6)   0 You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. ~ 16901. el seq.) as
     directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
     reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7)   0 You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page


                                B.       STANDARD CONDITIONS                               OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identifY the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I)   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or \vithin a different
     time frame.
2)   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3)   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
     the court or the probation officer.
4)   You must answer truthfully the questions asked by your probation officer.
5)   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notifY the probation officer at least 10 days before the change. If
     notifYing the probation officer in advance is not possible due to unanticipated circumstances, you must notifY the probation officer
     within 72 hours of becoming aware of a change or expected change.
6)   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7)   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
     from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
     excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notifY the probation officer at least 10 days before the change. IfnotifYing the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
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Sheet 3.01 . Amended Judgment in a8:15-cr-00296-PWG                 Document
                                   Criminal Case with Supervised Release             59
                                                                         (Rev. 1012017)   Filed 03/09/18 Page 4 of 6Judgment Page   4   or   6
DEFENDANT: ROLANDO ONEAL THORPE                                                                 CASE NUMBER: PWG-8-15-CR-00296-00        I

8)   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9)   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10) You must not own, possess, or have access to a fireann, ammunition, destructive device, or dangerous weapon (Le., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
II) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the coun.
12) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13) You must follow the instructions of the probation officer related to the conditions of supervision.


                                                  C. SUPERVISED RELEASE
                                                  ADDITIONAL CONDITIONS

SUBSTANCE ABUSE
I:i<:J The defendant shall satisfactorily participate in a treatment program approved by the probation officer
relating to substance and/or alcohol abuse, which may include evaluation, counseling, and testing as deemed
necessary by the probation officer.

EDUCA TIONALNOCATIONAL                   TRAINING
I:i<:J The defendant shall satisfactorily participate in a vocational or educational program as directed by the
probation officer.


SPECIAL ASSESSMENT
    I:i<:J
        The defendant shall pay a special assessment in the amount of $1 00.00 on each count, as directed by
the probation officer.




 U.S. Probation    Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the coUll and has provided me with a written copy of this
judgment containing these conditions. For funher information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                  _          Date                  _
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Sheet 5 Part A - Amended Judgment in a Criminal Case with Supervised Document         59
                                                                     Release (Rev. 1012017)       Filed 03/09/18 Page 5 of 6Judgment Page           5 of 6
DEFENDANT: ROLANDO ONEAL THORPE                                                                         CASE NUMBER: PWG.8.15.CR.00296-001


                                           CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 5B.


                 Assessment                                                             Fine                                 Restitution
 TOTALS     S 200.00                                                                $ Waived                              $ N/A
  o CVB Processing Fee $30.00


  D     The determination of restitution is deferred until                                    .              An Amended Judgment in a Criminal Case
                                                                                                             (AO 245C) will be entered after such
                                                                                                             determination.

  o     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. 9 3664(i), all non federal
     victims must be paid before the United States is paid.
                                                                                                             Priority or
Name of Payee                             Total Loss'                       Restitution Ordered
                                                                                                             Percentage




TOTALS                              S                                                         $


 o      Restitution amount ordered pursuant to plea agreement              $

 o      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
        before the fifteenth day after the date of the judgment, pursuant to 18 U.S.c. 9 3612(1). All of the payment options on Sheet 6
        may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 93612(g).

 o      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         o   the interest requirement is waived for the                   o     fine      o          restitution

         o  the interest requirement for the        0 fine 0 restitution is modified as follows:
 • Findings for the total amount of losses are required under Chapters 109A, 110, IIOA, and 113A of Title 18 for
 offenses committed on or after September 13, 1994, but before April 23, 1996.
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Sheet 5 Part B - Amended Judgment in a Criminal Case with Supervised Document         59
                                                                     Release (Rev. 10/2011)   Filed 03/09/18 Page 6 of 6Judgment Page     6 of 6
DEFENDANT:          ROLANDO         ONEAL THORPE                                                    CASE NUMBER: PWG-8-15-CR-00296-001


                                                     SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


       Payment of the total fine and other criminal monetary penalties shall be due as follows:

A      0 $200.00 Special Assessment shall be paid in full immediately.

B      0 $              immediately, balance due (in accordance with C, D, or E); or

C      0 Not later than               ; or

D      0 Installments to commence                     day(s) after the date of this judgment.

E      0 In            (e.g. equal weekly, monthly, quarterly) installments of $                     over a period of      year(s) to commence
           when the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary
penalties shall be due during the period of imprisonment. All criminal monetary penalties except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

o  NO RESTITUTION OR OTHER FINANCIAL                              PENALTY SHALL BE COLLECTED                   THROUGH   THE INMATE
FINANCIAL RESPONSIBILITY PROGRAM.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid:

       o    in equal monthly installments during the term of supervision; or

       o    on a nominal payment schedule of $                    per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's                financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:
o   Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




o      The defendant shall pay the cost of prosecution.

 o     The defendant shall pay the following court cost(s):

 o     The defendant shall forfeit the defendant's       interest in the following property to the United States:

 See ECF 40 docketed on November 28, 2016
